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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    FURIE OPERATING ALASKA, LLC, et al.,1                             )   Case No. 19-11781 (LSS)
                                                                      )
                                         Debtors.                     )   (Jointly Administered)
                                                                      )
                                                                      )   Related to Docket Nos. 14 and 377

                MELODY LENDERS’ PRELIMINARY OBJECTION TO
          MOTION OF THE DEBTORS FOR ENTRY OF ORDER APPROVING
        THE SALE OF DEBTORS’ ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
             INTERESTS AND ENCUMBRANCES, AND RELATED RELIEF

                      Melody Special Situations Offshore Credit Mini-Master Fund., L.P., Melody

Capital Partners Offshore Credit Mini-Master Fund, L.P., Melody Capital Partners Onshore

Credit Fund., L.P. and Melody Capital Partners FDB Credit Fund, L.P. and/or their respective

affiliates (collectively, the “Melody Lenders”), in their capacities as Prepetition Term Loan

Lenders2 and DIP Lenders, hereby submit this preliminary objection (the “Preliminary

Objection”) to the sale of the Debtors’ Assets free and clear of liens, claims, interests and

encumbrances, and related relief, and respectfully state as follows:




1
             The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Furie
             Operating Alaska, LLC (8721); Cornucopia Oil & Gas Company, LLC (9914); and Corsair Oil & Gas LLC
             (8012). The location of the Debtors’ corporate headquarters and the service address for all Debtors is 188
             W. Northern Lights Blvd., Suite 620, Anchorage, Alaska 99503.
2
             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Final
             Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing on a Super-Priority, Senior Secured
             Basis, (B) Use Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, and
             (III) Modifying the Automatic Stay [Docket No. 186] (the “Final DIP Order”) or the Motion of Debtors for
             Entry of Orders (I)(A) Approving Bidding Procedures for the Sale of the Debtors’ Assets, (B) Approving
             Stalking Horse Bid Protections, (C) Scheduling an Auction for, and Hearing to Approve, the Sale of the
             Debtors’ Assets, (D) Approving the Form and Manner of Notice Thereof, (E) Approving Contract Assumption
             and Assignment Procedures and (F) Granting Related Relief and (II)(A) Approving the Sale of the Debtors’
             Assets Free and Clear of Liens, Claims, Interests and Encumbrances, (B) Authorizing the Assumption and
             Assignment of Executory Contracts and Unexpired Leases and (C) Granting Related Relief [Docket No. 14].



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                 1.      Throughout these chapter 11 cases, the Melody Lenders have expressed

support for the Debtors’ efforts to market and sell their assets on an expedited basis. Indeed,

although the Melody Lenders were hopeful that the marketing process would produce many active

bidders, and that the Auction conducted pursuant to the Bidding Procedures would result in those

bidders materially increasing their bids, the marketing process yielded only two bids3: (a) a credit

bid submitted by the DIP Agent and the Prepetition Term Loan Agent valued at $15,000,001 for

the purchase of the equity of the Debtors pursuant to a plan of reorganization (the “Credit Bid”);

and (b) a significantly lower cash bid from HEX L.L.C. (“HEX”) for the purchase of the assets of

the Debtors (the “Initial HEX Bid”). See Auction Transcript p. 7. On the day of the Auction, but

before the official commencement of the Auction, HEX submitted a bid to the Debtors via term

sheet that purported to improve the terms of the Credit Bid, including (x) changing its bid from an

asset purchase to an “equity purchase” pursuant to a plan of reorganization; (y) increasing its

purchase price to $15,000,010 (just $9 above the Credit Bid purchase price); and (c) agreeing to

assume certain contracts, all without certain contingencies that were identified in the Credit Bid

(the “Revised HEX Bid”). See Auction Transcript pp. 9-19. Without creating any record or

showing how or why the Debtors determined that the Revised HEX Bid was a better bid than the

Credit Bid, the Debtors announced that the Revised HEX Bid was the Successful Bid. See Auction

Transcript p. 19. Since the Auction concluded, the Debtors have filed only a single notice with

the Court, indicating that the Revised HEX Bid is the Successful Bid and confirming that the

hearing to approve the Sale remains scheduled for December 12, 2019 at 10:30 a.m. See Notice

of Auction Results [Docket No. 377]. The Debtors have yet to file the terms of the Revised HEX




3
        The Auction transcript is annexed hereto as Exhibit A (the “Auction Transcript”).



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Bid, the Purchase Agreement, or the revised Sale Order, leaving parties in the dark as to the actual

terms of the Successful Bid.

                 2.     While the Melody Lenders remain supportive of the Debtors’ efforts to sell

their businesses as a going concern, they remain deeply concerned about what exactly it is that the

Debtors and HEX agreed to at the Auction, and whether those agreements, as will eventually be

documented in a revised form of purchase agreement (the “HEX Purchase Agreement”) and sale

order (the “HEX Sale Order”), and an eventual plan of reorganization (the “HEX Plan”), impinge

on the Melody Lenders’ rights as both a DIP Lender and Prepetition Term Loan Lender and are

materially adverse to the Melody Lenders and their rights under the Final DIP Order and DIP

Credit Agreement. Indeed, it is unclear from the Auction Transcript whether or not the parties

fully or mutually understand the terms that they agreed to (including the contingencies that may

be included in the Revised HEX Bid). See Auction Transcript pp. 10-12, 15-17. The Melody

Lenders are concerned that the Debtors, internalizing the mantra that “cash is king”, may have

accepted an offer that they are not in fact capable of effectuating because, among other things, it

attempts to strip the Melody Lenders of certain fundamental rights and protections (including the

right to be repaid in cash in full on its outstanding portion of the DIP Obligations and to consent

to the release of collateral, including the proceeds of the Tax Credits). Accordingly, the Melody

Lenders are forced to bring this Preliminary Objection to ensure their rights under the Final DIP

Order, the DIP Credit Agreement, the New Side Letter and the Bankruptcy Code are not trampled

upon as collateral damage in the Debtors’ effort not to lose the “bird in hand.” At a minimum,

until such time as the parties have had a chance to fully review and digest all of the terms of the

Revised HEX Bid, including the terms of the HEX Purchase Agreement, HEX Sale Order and

HEX Plan, it is premature to proceed with the Sale Hearing as presently scheduled.




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    I.       The Revised HEX Bid Does Not Satisfy the DIP Obligations in Full in Cash

                 3.     The Revised HEX Bid contemplates that the purchase and sale of the

Debtors’ equity will be consummated pursuant to a plan of reorganization. Section 1129(a)(9) of

the Bankruptcy Code requires as a condition to confirmation of a chapter 11 plan that such plan

must, on the effective date, satisfy in full and in cash all administrative expenses. 11 U.S.C.

§ 1129(a)(9). The requirements of section 1129(a)(9) apply equally to the DIP Obligations, which

are superpriority claims under sections 507 and 503 of the Bankruptcy Code. In addition, both the

Final DIP Order and the DIP Credit Agreement require upon consummation of a plan or sale

transaction the repayment of the DIP Obligations (as defined therein), in full and in cash. See Final

DIP Order ¶ 5; DIP Credit Agreement § 2.1.6(a)(ii) (“The DIP Facility consists of $15,000,000 …

together with the applicable interest, advances, expenses, fees and other charges … payable

in full and in cash on the Maturity Date [(which includes, among other things “the substantial

consummation of a Plan which has been confirmed by an order entered by the Bankruptcy Court”

and “the consummation of a Sale Transaction”)] ….”); DIP Credit Agreement § 2.1.6(a)(ii); see

also Final DIP Order ¶ J; DIP Credit Agreement § 2.1.6(a)(ii)(x) (“Subject to the last proviso in

this Paragraph J [(which deals with a Credit Bid of the Prepetition Term Loan Obligations)], the

DIP Loans together with all accrued and unpaid interest, fees, charges, costs and other Obligations

shall be repaid in full in cash.”).

                 4.     The DIP Credit Agreement similarly prohibits any amendment,

modification or waiver of the obligations to repay the DIP Obligations in full and with any

consideration other than cash without each DIP Lender’s consent (the so-called “sacred lender

rights”). See DIP Credit Agreement § 8.9(a):




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                 . . . no such supplemental agreement shall:

                 (i)     without the consent of all of the Lenders affected thereby,
                         modify or waive the requirements under Section 2.1.5
                         (Superpriority Nature of Obligations and Liens), 2.1.6
                         (Prepayments and Repayments), 2.4 (Pro Rata Treatment),
                         2.5 (Change of Circumstances), 5.6 (Proceeds), 6.19
                         (Assignment), 8.1 (Appointment, Powers and Immunities),
                         8.12 (Participation) or 8.13 (Transfer of DIP Loans, DIP
                         Loan Commitment);

                 (ii)    without the consent of all Lenders, modify or waive the
                         requirements under any other provision of any DIP
                         Document specifically requiring the consent of or waiver
                         by all of the Lenders;

                 (iii)   without the consent of the Lenders affected thereby, extend
                         the DIP Availability Period or the DIP Commitment
                         Termination Date beyond the latest date provided for under
                         Section 2.1.6(a)(i);

                 (iv)    without the consent of all of the Lenders affected thereby,
                         reduce the amount or extend the payment date for any
                         amount due hereunder, whether principal, interest, fees or
                         other amounts;

                 (v)     without the consent of the Lenders affected thereby, increase
                         the DIP Loan Commitment;

                 (vi)    without the consent of all Lenders, reduce the percentage
                         specified in the definition of Required Lenders;

                 (vii)   without the consent of all Lenders, amend Exhibit D;

                 (viii) without the consent of all Lenders, amend this Section 8.9;
                        or

                 (ix)    without the consent of all Lenders, release all or
                         substantially all of the Collateral from the Lien of any of
                         the DIP Security Documents or release any party acting as
                         a guarantor under a DIP Document (except as specifically
                         permitted by the terms of the relevant DIP Document).

DIP Credit Agreement § 8.9(a) (emphasis added).

                 5.      In addition, the form of Sale Order filed by the Debtors on October 28, 2019

presupposes and confirms the Debtors’ obligation to repay the DIP Obligations in full and in cash




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upon consummation of any sale. See Notice of Filing of Proposed (I) Forms of Securities and

Asset Purchase Agreements and (II) Sale Order [Docket No. 237], Exhibit C (the “Form of Sale

Order”) ¶ 9 (“Pursuant to sections 105(a), 363(b), and 363(f) of the Bankruptcy Code, upon

Closing, and subject to the satisfaction in full in cash of all then outstanding DIP Obligations in

accordance with the terms of the DIP Orders and in accordance with the Purchase Agreement, the

Assets shall be transferred to the Buyer free and clear of all liens, claims, encumbrances, and

interests (subject to the Assumed Liabilities and the Permitted Liens) ….”). Moreover, the Form

of Sale Order provides:

             [N]othing in the Purchase Agreement or this Sale Order shall be deemed to amend,
             modify, or limit the rights … of the DIP Agent and/or the DIP Lenders pursuant to the
             DIP Orders or the DIP Documents, or in respect of the DIP Obligations or the liens,
             security interests, or superpriority claims of the DIP Lenders, until the Closing and the
             repayment in full in cash of the DIP Obligations.

Form of Sale Order ¶ 48.

             Nothing in the Purchase Agreement or this Sale Order shall be deemed to amend,
             modify, or limit the rights and claims of the Prepetition Term Loan Lenders pursuant
             to the DIP Orders or the Prepetition Term Loan Documents.

Form of Sale Order ¶ 49.

                 6.     Despite these requirements, however, the $15,000,010 in cash to be

provided by HEX in connection with the Revised HEX Bid is all but certain to be insufficient to

repay the DIP Obligations in full. The cash purchase price announced by the Debtors of

$15,000,010 is, despite its aesthetic similarity to the principal amount of the DIP Loans, a

misleading figure. Before the Debtors’ creditors will see any portion of the $15 million in cash,

the Debtors will be required to withhold 15% of the purchase price for Foreign Investment in Real

Property Tax Act (“FIRPTA”) withholdings because the Debtors’ financial sponsor is a foreign




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entity.4 See Auction Transcript pp. 15-17. That withholding alone will reduce the available cash

proceeds to $12,750,008.50, well below the $15 million principal amount of the DIP Loans—

which amount doesn’t include interest, fees and other expenses that will increase the total amount

of the DIP Obligations well above $15 million. See DIP Credit Agreement §§ 2.1.1(c); 2.1.2(a);

2.1.6(a)(ii); and Final DIP Order § C. In order to offset the obvious numerical difference in the

purchase price between the Revised HEX Bid and the Credit Bid as a result of FIRPTA

withholding, the Revised HEX Bid purports to give the DIP Lenders take-back debt for the amount

withheld from the purchase price, with such debt to be secured by their own existing collateral

(i.e., a portion of the Prepetition Tax Credit Priority Collateral that presently secures the Prepetition

Term Loan Obligations). See Auction Transcript pp. 15-17. A secured take-back loan, however,

is demonstrably not cash, and thus cannot satisfy the DIP Obligations in full in cash as required

under section 1129 of the Bankruptcy Code, rendering the HEX Plan non-confirmable as a matter

of law. The Melody Lenders similarly object to any provision of the Form of Sale Order that

requests the holdback of some unspecified amount of the sale proceeds to be used as cash collateral

during the remainder of the cases. Form of Sale Order ¶ 40. The Melody Lenders are not agreeing

to fund additional administrative expenses out of the cash proceeds of the sale. These provisions—

alone—raise serious doubts regarding the Debtors’ designation of the Revised HEX Bid as the

Successful Bid over the Credit Bid.5 Because the Melody Lenders have not agreed to waive their


4
        Notably, the FIRPTA withholdings obligations are not due in a credit bid scenario. Like the FIRPTA
        withholding tax, there are additional administrative expenses that will be incurred by virtue of pursuing a
        third-party bid versus a credit bid.
5
        The Revised HEX Bid is arguably of far less value to the estates than the Credit Bid. In addition to the
        FIRPTA withholding tax, when evaluating the Revised HEX Bid, the starting position for the purchase price
        should be further reduced by an additional $8 million on account of certain tax credit proceeds that are being
        assigned to HEX and that otherwise would have been used to satisfy the obligations owed to the secured
        lenders (discussed infra). That brings the purchase price down to an equivalent of no more than
        $4,750,008.50 of value to these estates. Notably, the assignment of this collateral was not part of the Credit
        Bid. In addition, the Revised HEX Bid contains multiple contingencies that were only disclosed on the record



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right to be paid in full in cash, nor consented to less than full repayment of their DIP Obligations

in cash, redirecting the cash proceeds of the sale to HEX (the “HEX Sale”) in any manner

contravenes the express terms of the Final DIP Order, the DIP Credit Agreement, the Form of Sale

Order and section 1129 of the Bankruptcy Code. In addition, it is clear that any payment of the

DIP Obligations that is less than in full and in cash is inconsistent with the provisions of the DIP

Credit Agreement and the Final DIP Order, and is materially adverse to the Melody Lenders.

    II.       The Revised HEX Bid Cannot Release Collateral without the Melody Lenders’
              Consent

                   7.       In order to negotiate an increased cash purchase price in excess of the

original $2.5 million bid submitted by HEX, the Debtors were forced to forego certain additional

assets that serve as collateral for the DIP Obligations and the Prepetition Term Loan Obligations.

Specifically, under the DIP Credit Agreement, the Final DIP Order, the New Side Letter and the

ING Side Letter6, the value associated with the Tax Credits constitutes a portion of the Prepetition

Tax Credit Priority Collateral that presently secures the DIP Obligations and the Prepetition Term



          at the Auction. Indeed, HEX presumed that it was obtaining an indemnity with respect to certain lawsuits
          pending in the Chapter 11 Cases. See Auction Transcript pp. 10-12. It was then explained to HEX that while
          there would be no indemnification, the bid could be contingent on obtaining an acceptable form of plan and
          confirmation order that provides a traditional discharge of liabilities. Id. pp. 11-12. No one discussed on the
          record of the Auction what those liabilities would be or whether those liabilities would in fact be
          dischargeable. Comparing apples to apples, the Credit Bid contains similar contingencies regarding the
          discharge of liabilities and the resolution of certain pending claims, cure amounts and causes of action.
          Lastly, the Revised HEX Bid extends the deadline to provide proof of funds necessary to consummate the
          bid and the full Good Faith Deposit to January 10, 2020. Id. p. 14. Such contingency, which was not
          permitted by the Bidding Procedures, is not a component of the Credit Bid.
6
          On information and belief, ING Capital LLC, in its capacity as Prepetition Tax Credit Administrative Agent,
          and Energy Capital Partners Mezzanine Opportunities Fund A, LP, in its capacity as Prepetition Term Loan
          Administrative Agent, entered into that certain side letter agreement, dated on or about November 27, 2019
          (the “ING Side Letter”), which sets forth the terms of an internal corporate reorganization and certain
          modifications to the prepetition agreement between the Prepetition Agents, including, among other things,
          modifications to the collateral sharing provisions regarding application of the proceeds of the Prepetition Tax
          Credit Priority Collateral. Although the Melody Lenders were provided a draft copy of the ING Side Letter
          before it was executed, neither the Melody Lenders nor their advisors have reviewed an executed copy of the
          letter. The Melody Lenders reserve all of their rights to object to the terms of the ING Side Letter, including,
          without limitation, to ensure that its terms are not materially adverse to their interests.



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Loan Obligations, and the Revised HEX Bid assigns a portion of this collateral to HEX (i.e., the

back-end recovery on $8 million of the residual proceeds of the Tax Credits and 50% of the

residual proceeds thereafter that were to benefit the Prepetition Term Loan Lenders). See Auction

Transcript pp. 14-15.

                  8.      The assignment of the proceeds of the Tax Credits to HEX pursuant to the

Revised HEX Bid is materially adverse to the Melody Lenders. First, absent payment in full in

cash of the DIP Obligations, the DIP Agreement restricts the ability of the Debtors or the DIP

Agent to release collateral without the consent of each DIP Lender. DIP Credit Agreement

§§ 8.9(a)(i), (ix). The Melody Lenders have not consented to the release of valuable collateral that

in the absence of payment in full in cash of the DIP Obligations would first be used to satisfy the

DIP Obligations after repayment of the Prepetition Tax Credit Obligations in accordance with the

Final DIP Order and the ING Term Sheet.

                  9.      Second, the proceeds of the Tax Credit are already subject to a detailed

waterfall set forth in the Final DIP Order (as may have been modified by the ING Term Sheet).

Section R(vi) of the Final DIP Order provides as follows with respect to lien priority over the

Prepetition Tax Credit Priority Collateral:


                             Prepetition Tax Credit Priority Collateral
               Priority                             Lien Priority
            st
           1              Adequate Protection Liens granted to the Prepetition Tax Credit
                          Administrative Agent on behalf of the Prepetition Tax Credit
                          Secured Parties
           2nd            Prepetition Liens granted to the Prepetition Tax Credit
                          Administrative Agent on behalf of the Prepetition Tax Credit
                          Secured Parties to secure the Prepetition Tax Credit Obligations
           3rd            Priming Lien granted to the DIP Agent on behalf of the DIP
                          Lenders to secure the DIP Obligations




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           4th          Adequate Protection Liens granted to the Prepetition Term Loan
                        Administrative Agent on behalf of the Tranche A Lenders, the
                        Tranche B Lenders, the Tranche C Lenders and the Prepetition
                        Term Loan Administrative Agent (subject to the Term Loan
                        Lender Payment Priority Waterfall)
           5th          Prepetition Liens granted to the Prepetition Term Loan
                        Administrative Agent on behalf of the Tranche A Lenders, the
                        Tranche B Lenders, the Tranche C Lenders and the Prepetition
                        Term Loan Administrative Agent to secure the Tranche A
                        Obligations, the Tranche B Obligations, the obligations in respect
                        of the Tranche C Loans and the obligations owing to the
                        Prepetition Term Loan Administrative Agent, on a pari passu basis
                        (subject to the Term Loan Lender Payment Priority
                        Waterfall)


Section R(vii) of the Final DIP Order further provides that “[t]he Prepetition Term Loan Lender

Payment Priority Waterfall … may only be modified with the written consent of each of the

Prepetition Term Loan Lenders.” Final DIP Order ¶ R(vii). Assigning this value to the Purchaser

without the Melody Lenders’ consent not only contravenes the express terms of the Final DIP

Order, but also the express terms of the New Side Letter. Assuming that there are insufficient

assets to satisfy the Prepetition Term Loan Obligations in full, recoveries on account of the Tax

Credits become a meaningful source of recovery for the Tranche A Lenders. The Melody Lenders

hold approximately 73% of the Tranche A Term Loan Obligations, and therefore are entitled to

approximately 73% of the value associated with the Prepetition Tax Credit Priority Collateral

securing the Tranche A Term Loan Obligations. Any sale or plan that purports to release the

Melody Lenders’ economic interest in this collateral without their consent will have a

disproportionate effect on the Melody Lenders’ recoveries under the Plan, is not authorized by the

terms of the New Side Letter and will certainly be materially adverse to the Melody Lenders.




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    III.     The Melody Lenders Object to Certain Provisions Contained in the Form of Sale
             Order

                 10.    Absent the filing of the HEX Purchase Agreement, the HEX Sale Order,

and the HEX Plan, it is impossible to evaluate the terms of the Revised HEX Bid and whether any

other terms of the bid may be materially adverse to the Melody Lenders. Nevertheless, in order to

preserve their rights to object to such grounds when the HEX Purchase Agreement, HEX Sale

Order, and HEX Plan ultimately are filed, the Melody Lenders object to the following findings and

related requested relief contained in the Form of Sale Order and consistent with the Melody

Lenders’ rights set forth above:

             a. The findings in Paragraphs H and O state that the Debtors have determined that the
                Successful Bid (i.e., the HEX Sale) and Purchase Agreement maximizes value for
                the benefit of the Debtors’ estates, and that the value of the Debtors’ estates will be
                maximized through a sale of the Assets on a going concern basis. Form of Sale
                Order ¶¶ H, O. For the reasons described above, the Melody Lenders dispute the
                finding that the HEX Sale maximizes value of the Debtors’ estates.

             b. The finding in Paragraph H states that the Successful Bid is in accordance and
                compliance with the Bidding Procedures and the Bidding Procedures Order. Form
                of Sale Order ¶ H. This is not the case, as HEX presently does not have committed
                financing in place to consummate the HEX Sale and has not yet demonstrated the
                financial wherewithal to complete the Successful Bid, both of which are
                requirements for submitting a “Qualified Bid.” See Bidding Procedures ¶¶ 2.D.iii,
                iv; 2.H.iv.

             c. Paragraph AA provides that the attachment of Liens to the sale proceeds will be
                subject to among other things, the Carve-Out. Form of Sale Order ¶ AA. The
                Carve-Out has not been triggered and upon consummation of the HEX Plan will
                not be triggered.

             d. The Form of Sale Order purports to release certain Liens and Claims, and provides
                for deemed consent, none of which the Melody Lenders have consented to release.
                See Form of Sale Order ¶ CC; ¶ 6; and ¶ 13 (among others).

             e. Paragraph 5 of the Form of Sale Order appears to vest all right, title and interest in
                the Assets upon the Closing in the Buyer, free and clear of all Liens, Claims and/or
                Interests (other than Permitted Liens and Assumed Liabilities) as long as the
                proceeds of the Sale Transaction are applied as set forth in the Form of Sale Order.
                Form of Sale Order ¶ 5. The Melody Lenders object to this relief to the extent the




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                 payment waterfall and distribution of proceeds required by the DIP Documents is
                 not honored.

             f. Paragraph 39 of the Form of Sale Order provides that the Debtors shall pay the sale
                proceeds to the DIP Agent for application and payment of all obligations to the DIP
                Lenders in accordance with the Final DIP Order, the New Side Letter and the DIP
                Credit Agreement. Form of Sale Order ¶ 39. Paragraph 40, however, proposes to
                apply the sale proceeds in a manner that diverges from the terms of these
                documents. Form of Sale Order ¶ 40. The Melody Lenders object to any relief to
                the extent it conflicts with the application of proceeds set forth in the Final DIP
                Order and DIP Credit Agreement (summarized above).

             g. Paragraph 42 of the Form of Sale Order would authorize the Debtors to convey the
                Assets in a manner reasonably necessary to perform the terms of the Purchase
                Agreement, and take any action reasonably requested by the DIP Secured Parties
                in connection with evidencing the repayment of the DIP Obligations or the release
                of any DIP Liens. Form of Sale Order ¶ 42. The Melody Lenders object to this
                relief to the extent it authorizes the Debtors to take any actions that conflict with
                the terms of the Final DIP Order, the DIP Credit Agreement, the New Side Letter
                or are materially adverse to the Melody Lenders.

                 11.    The Melody Lenders reserve the right to object to any other provisions of

the HEX Sale Order, the HEX Purchase Agreement or the HEX Plan, when they are filed. In

particular, given that the HEX Revised Bid is to be effected pursuant to the HEX Plan, the Melody

Lenders expressly reserve all rights, including under the Final DIP Order, the New Side Letter, the

DIP Documents, the Prepetition Term Loan Documents and at law to raise any objection including,

without limitation, with respect to the distributions to be provided to the Melody Lenders and their

proposed treatment under the HEX Plan or any other plan of reorganization.


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                                          CONCLUSION

                 For the foregoing reasons, the Melody Lenders respectfully request that the Court

defer consideration of the Revised HEX Bid and adjourn the Sale Hearing or, in the alternative,

deny the proposed sale to HEX pursuant to the Revised HEX Bid.


Dated: Wilmington, Delaware
       December 10, 2019


                                              COLE SCHOTZ P.C.


                                              /s/ David R. Hurst
                                              David R. Hurst (No. 3743)
                                              J. Kate Stickles (No. 2917)
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